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HID 007A (Rev.02 /14) Declaration of Counsel

UNITED STATES DISTRICT COURT

for the
District of Hawaii
COUNTY OF MAUI )
)
Plaintiff ) Case No. CV 23-00565 JAO-BMK

MAUI ELECTRIC COMPANY, LIMITED et al., )
)

Defendant )

)

DECLARATION OF COUNSEL

(Attach to Motion to Appear Pro Hac Vice.)

Name of Declarant: | Ed Diab

Iam not a resident of the District of Hawaii, am not regularly employed in the District of Hawaii, and am not regularly
engaged in business, professional or law-related activities in the District of Hawaii, and that:

1. The city and state of my residence and office address is:
San Diego, CA

2. I have been admitted to practice in the following courts on the dates noted:

California Central District Court — 3/3/2021; California Eastern District Court ~ 4/19/2022; California Northern District
Court — 3/8/2022; California Southern District Court — 4/19/2022; Florida Northern District Court — 4/23/2019;
Massachusetts District Court ~ 7/19/2023; Pennsylvania Eastern District Court — 8/12/2021; Washington Western District
Court ~ 6/14/2021; State Bar of California (2/9/2009)

3. lam in good standing and eligible to practice in the following courts (declarant may state “All of the courts
identified in paragraph 2"):
All of the courts identified in paragraph 2.

4. I (a) am not currently involved in disciplinary proceedings before any state bar, federal bar, or any equivalent;
(b) have not in the past 10 years been suspended, disbarred, or otherwise subject to other disciplinary proceeding
before any state bar, federal bar, or its equivalent; (c) have not been denied admission pro hac vice by any court or
agency in the past 10 years; and (d) have not been the subject of a criminal investigation known to the attorney or
a criminal prosecution or conviction in any court in the past ten (10) years.

All of the above statements are true and correct.

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5. If 1 am concurrently making or have made within the preceding year a motion to appear pro hac vice in
a case or proceeding in the District of Hawaii, the title and number of each matter is stated below,
together with the date of the motion and whether the motion was granted.

Case number: 2CCV-XX-XXXXXXX (2)
COUNTY OF MAUI vs. MAUI ELECTRIC COMPANY, LIMITED et al.,
Date of Motion: October 6, 2023 - GRANTED

6. I designate the following to serve as associate counsel who is a member in good standing of the bar of
the United States District Court for the District of Hawaii and maintains an office in this district, with
the address, telephone and fax numbers, and e-mail address noted:

Attorneys: L. Richard Fried, Jr. Esq., Patrick F. McTernan Esq.

Cronin Fried, Sekiya, Kekina & Fairbanks; 841 Bishop Street, Suite 600, Honolulu, Hawai‘i 96813
P: (808) 524-1433

F: (808) 536-2073

7 CM/ECF: Filing documents electronically/Receiving e-mail notification.
el participation. I am requesting a waiver of the required CM/ECF training. I am a registered user of
CM/ECF in the following Bankruptcy and/or District Court(s):
CA Central District Court, CA Eastern District Court, CA Northern District Court, CA Southern District Court,

om participation. Computer Based Training (CBT) completed. I have completed CBT modules
1 and 2 currently available on the USDC District of Hawaii website at: www.hid.uscourts.gov

a. I will abide by all orders, rules, and administrative procedures governing the use of my login and password
and the electronic filing of documents in the CM/ECF system of the United States District Court for the
District of Hawaii.

b. Use of my CM/ECF User login and password constitutes my signature on an electronically filed document for

all purposes and shall have the same force and effect as if I had affixed my signature on a paper copy of the
document being filed (full participation registrants only).

c. I may authorize one or more employees or office staff members to use my login and password for the
electronic filing of a document. However, such use constitutes my signature on the electronically filed
document. I will not knowingly permit use of my login and password by anyone not so authorized, I shall take
steps to prevent such unauthorized use, and I shall be fully responsible for all use of the login and password
whether authorized or unauthorized. If authorization to use a login and password is withdrawn (e.g., when a
staff member leaves employment) or if unauthorized use of a login and password is suspected, I shall select
and activate a new password for use in the CM/ECF system. I also shall immediately notify the court upon
learning of any unauthorized use. I understand that failure to change the password and notify the court may
result in sanctions (full participation registrants only).

d. This registration constitutes my waiver of service of a paper copy of a notice and a request in writing that,
instead of notice by mail, notice be sent to me by electronic transmission through the court’s CM/ECF system.
This also constitutes my consent in writing to accept service of documents by e-mail through the CM/ECF
system. I will maintain an active e-mail account for notice and service by electronic transmission, and will
keep such e-mail account information current in my CM/ECF User account.

I declare under penalty of perjury that the foregoing is true and correct. (Attach any additional pages if any
further explanation is needed)

Dated: \2/12 [202% OY J.)

\-Signature

CONSENT OF LOCAL COUNSEL
(Local counsel may sign below if consent is not recorded elsewhere.)

Dated:

Signature

